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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

        Plaintiff,
                                                     Case No. 06-20234
 v.
                                                     Hon. John Corbett O’Meara
 AHMAD KHILIA DANIELS and
 DURRELL MATTHEWS,

       Defendants.
 _________________________________/


                                   OPINION AND ORDER

        Before the court are ten motions filed by Defendant Ahmad Daniels, all submitted on

 December 20, 2007: (1) Motion to Sever to Enforce Right to Speedy Trial; (2) Motion to

 Dismiss the Second Superseding Indictment as a Vindictive Prosecution; (3) Motion to Revoke

 Order of Detention because of Violation of Due Process; (4) Second Renewed Motion for

 Discovery and Inspection (Defendant Durrell Matthews filed joinder); (5) Second Motion for

 Notice of 404(b) Evidence (Matthews filed joinder); (6) Renewed Motion for Disclosure of All

 Statements which the Government Will Seek to Attribute to Defendant; (7) Second Renewed

 Motion for Disclosure and Production of Government Informant(s) and for Disclosure of Brady

 Materials Relating to Informant (Matthews filed joinder); (8) Renewed Motion for Redaction of

 Statements (Matthews filed joinder); (9) Motion in Limine to Exclude All Evidence of Co-

 Defendant’s Threats and Solicitations of a “Hit-Man” (Matthews filed joinder); and (10) Second

 Motion in Limine to Exclude Evidence of Defendant’s Prior Conviction. The government filed

 responses to each motion on January 24, 2008. The court heard oral argument on January 31,

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 2008, and rules as set forth below.

                                       BACKGROUND FACTS

        Defendant Ahmad Daniels was indicted on May 4, 2006, on charges of felon in

 possession of a firearm and possession with intent to distribute a controlled substance. The first

 superseding indictment, which added Defendant Nequita Jackson and a drug conspiracy charge,

 was filed on November 22, 2006. On October 5, 2007, a second superseding indictment was

 obtained, which added three co-defendants and expanded the time frame of the drug conspiracy

 charges against Defendant Daniels. Durrell Matthews was one of the defendants added; another

 defendant, Rodney Hollis, is a fugitive.

                                       LAW AND ANALYSIS

 I.     Motion to Sever to Enforce Right to Speedy Trial

        Daniels requests a separate trial in order to enforce his speedy trial rights.1 Daniels

 complains that he has been in custody for 21 months and that his speedy trial clock is “stalled

 indefinitely” pending the arraignment of Defendant Hollis, a fugitive. In response, the

 government asserts that it “has not requested any delay” based upon Hollis’s fugitive status. The

 government also notes that judicial economy favors a joint trial, and if separate trials are ordered,

 much of the same evidence will be presented twice.

        Rule 8(b) of the Federal Rules of Criminal Procedure permits the government to charge

 two or more defendants in an indictment “if they are alleged to have participated in the same act

 or transaction, or in the same series of acts or transactions constituting an offense or offenses.”

 Rule 14, however, permits relief from prejudicial joinder as follows:


        1
            Daniels does not allege that there has been a Speedy Trial Act violation.

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                If the joinder of offenses and defendants in an indictment, an
                information, or a consolidation for trial appears to prejudice a
                defendant or the government, the court may order separate trials of
                counts, sever the defendants' trials, or provide any other relief that
                justice requires.

        The United States Supreme Court has advised that “a district court should grant a

 severance under Rule 14 only if there is a serious risk that a joint trial would compromise a

 specific trial right of one of the defendants, or prevent the jury from making a reliable judgment

 about guilt or innocence,” and that “less drastic measures, such as limiting instructions, often

 will suffice to cure any risk of prejudice.” Zafiro v. United States, 506 U.S. 534, 539 (1993).

 “When a defendant seeks a severance, he has a heavy burden of showing specific and compelling

 prejudice, and the denial of a motion to sever will be overruled on appeal only for a clear abuse

 of discretion.” United States v. Harris, 9 F.3d 493, 500 (6th Cir. 1993).

        At this time, Daniels cannot demonstrate that a joint trial will cause him “specific and

 compelling prejudice.” As discussed below, however, the court is concerned about the length of

 Daniels’s pretrial detention. Trial is currently scheduled for April 22, 2008. If the trial does not

 proceed as scheduled, the court will reconsider Daniels’s motion to sever in light of its concerns

 regarding Daniels’s pretrial detention. At this time, however, the court will deny Daniels’s

 motion to sever without prejudice.

 II.      Motion to Dismiss the Second Superseding Indictment as a Vindictive Prosecution

        Daniels contends that the second superseding indictment should be dismissed as a

 “vindictive prosecution.” According to Daniels, the government brought additional charges

 against him in retaliation for Daniels’s insistence on going to trial. The government counters

 that two of Daniels’s co-defendants, Labaron Wardlaw and Nequita Jackson, plead guilty in


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 August 2007. As a result of the information provided by these defendants, the government was

 able to file the second superseding indictment on October 5, 2007.

        The Sixth Circuit discussed the analysis of a vindictive prosecution claim as follows:

                There are two approaches to showing prosecutorial vindictiveness:
                A defendant can show “actual vindictiveness,” by producing
                “objective evidence that a prosecutor acted in order to punish the
                defendant for standing on his legal rights,” or the Court can find a
                presumption of vindictiveness by applying the “realistic likelihood
                of vindictiveness,” standard which focuses on the prosecutor’s
                “stake” in deterring the exercise of a protected right and the
                unreasonableness of his actions.

 United States v. Poole, 407 F.3d 767, 774 (6th Cir. 2005) (citations omitted). In this case, there

 is no evidence of actual vindictiveness or unreasonable behavior on the part of the prosecutor.

 The government asserts that it was able to bring additional charges against Daniels based upon

 the cooperation and information provided by his co-defendants. Daniels does not provide

 evidence that the government’s reason is unworthy of belief or that the government has acted in

 an unreasonable manner. The court will deny Defendant’s motion.

 III.   Motion to Revoke Order of Detention because of Violation of Due Process

        Daniels argues that his pretrial detention, which has lasted approximately 21 months so

 far, violates his due process rights. Daniels has been detained since April 4, 2006. Daniels

 contends that there “is no end in sight” to his detention because one of his co-defendants is a

 fugitive and there was no pending trial date at the time the motion was filed. The government

 responds that Daniels is being detained because he is a danger to the community. The

 government further contends that some of the pretrial delay is attributable to Daniels and that it

 does not intend to delay the proceedings based upon the fugitive status of Rodney Hollis.

        At some point, the length of pretrial detention raises due process concerns. The due

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 process clause of the Fifth Amendment prohibits the imposition of punishment prior to trial. See

 Bell v. Wolfish, 441 U.S. 520, 535. A valid pretrial detention “assumes a punitive character

 when it is prolonged significantly.” United States v. Theron, 782 F.2d 1510, 1516 (10th Cir.

 1986). The court must analyze due process claims on a case-by-case basis, because “due process

 does not necessarily set a bright line limit for length of pretrial confinement.” United States v.

 Gonzales Claudio, 806 F.2d 334, 340 (2d Cir. 1986). “Though the duration of confinement is

 obviously the central focus of our inquiry, we also consider the extent to which the prosecution

 bears responsibility for the delay that has ensued and the strength of the evidence indicating risk

 of flight.” Id.; cited with approval in United States v. Yee, 900 F.2d 261 (6th Cir. 1990)

 (unpublished). The court’s finding that a defendant is dangerous and that pretrial detention is

 warranted under the Bail Reform Act does not preclude a finding that a defendant’s due process

 rights have been violated by a prolonged pretrial detention. See United States v. Gatto, 750 F.

 Supp. 664, 673 (D. N.J. 1990) (“Despite defendants’ dangerousness, the issue which must be

 resolved is whether the due process clause requires bail be set for these defendants at this

 time.”).

        The significant length of Daniels’s 21-month pretrial detention raises due process

 concerns and weighs in favor of his release. See Gatto, 750 F. Supp. at 675 (fifteen months

 pretrial detention weighed in favor of release, despite dangerousness of defendants and

 complexity of case); Gonzales Claudio, 806 F.2d at 340-41 (fourteen months of pretrial detention

 scheduled to last approximately two years before trial is complete weighed in favor of release).

        The prosecution bears some responsibility for the pretrial delay in this case. Granted,

 Daniels has changed attorneys twice and has filed a few rounds of pretrial motions. However, at


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 least three trial dates have been adjourned as a result of the government’s conduct. Daniels

 alleges that the July 11, 2006 trial date was adjourned because defense counsel did not receive

 all of the discovery until July 10, 2006. The November 28, 2006 trial date was adjourned

 because the government brought a first superseding indictment on November 22, 2006. The

 court permitted the adjournment of the October 9, 2007 trial date (over Daniels’s objection) as a

 result of the filing of the second superseding indictment on October 5, 2007.

        Although the government’s conduct does not evidence negligence or bad faith, it

 nonetheless may weigh in favor of Daniels’s release.

                We need not determine with precision the amount of pretrial delay
                attributable to the prosecution, nor assess the extent to which the
                Government may have been at fault in contributing to the delay. It
                suffices for present purposes to conclude that the Government,
                even if not deserving of blame, bears a responsibility for a portion
                of the delay significant enough to add considerable weight to the
                defendants’ claim that the duration of detention has exceeded
                constitutional limits.

 Gonzales Claudio, 806 F.2d at 342-43 (government delayed several months in providing

 translations of tapes and discovery). Cf. United States v. Zannino, 798 F.2d 544, 549 (1st Cir.

 1986) (upholding sixteen-month detention where government “has done all it could” to bring

 defendant to trial and delay was primarily due to defendant’s physical inability to stand trial).

        With respect to the risk of flight factor, this court has already determined that Daniels is a

 flight risk due to the seriousness of the charges, the fact that he was unemployed, had weak

 community and family ties, lived at multiple addresses over the past three years, and had a

 previous conviction for a violent offense. This does not end the inquiry for due process

 purposes, however.

                [T]hough we have concluded that the District Judge’s findings of

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                  underlying historical facts and the consequent factual
                  determination of risk of flight are not clearly erroneous and we
                  therefore accept them, we are entitled to apply a broader standard
                  of review in determining the extent to which the facts regarding
                  risk of flight, as found by the District Court, have significance on
                  the constitutional issue of whether continued detention violates due
                  process limitations. In that inquiry, what is significant is the
                  absence of any prior acts specifically evidencing likelihood of
                  flight. There is no finding and no evidence that either appellant
                  has ever fled from lawful authority or failed to honor court orders.

 Gonzales Claudio, 806 F.2d at 343 (emphasis added, citations omitted). In this case, too, there is

 no evidence that Daniels has ever fled from lawful authority or failed to honor court orders.

         On balance, the factors discussed above appear to weigh in favor of Daniels’s release,

 despite the risk of flight. See id. However, trial in this matter has been set for April 22, 2008.

 In light of the pending trial date, the seriousness of the charges, and the risk of flight, the court

 will deny Daniels’s motion for bond at this time, without prejudice. If trial does not proceed as

 scheduled the court will reconsider the motion for bond, along with the motion for severance, as

 discussed above.

 IV.      Discovery Motions

         At the hearing, the parties agreed that the following motions are moot: Second Renewed

 Motion for Discovery and Inspection; Second Motion for Notice of 404(b) Evidence; Renewed

 Motion for Disclosure of All Statements which the Government Will Seek to Attribute to

 Defendant; Second Renewed Motion for Disclosure and Production of Government Informant(s)

 and for Disclosure of Brady Materials Relating to Informant; and Renewed Motion for Redaction

 of Statements.



 V.      Motion in Limine to Exclude All Evidence of Co-Defendant’s Threats and

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        Solicitation of a “Hit-Man”

        Daniels requests that the following be excluded from evidence at trial: (1) Defendant

 Wardlaw’s alleged threats of fire bombing and homicide against the Blood Gang; and (2)

 Wardlaw’s alleged recruiting of a “hit-man” on behalf of his attorney, George Lyons. Daniels

 contends that this evidence is not relevant and is unduly prejudicial pursuant to Fed. R. Evid. 402

 and 403. The government contends that Wardlaw’s statements are that of a co-conspirator and

 are relevant to the extent and context of the conspiracy. The court will deny this motion without

 prejudice to see how these statements fit in to the context of the trial testimony.

 X.     Second Motion in Limine to Exclude Evidence of Prior Conviction

        Daniels seeks to exclude evidence of his prior conviction of assault with intent to commit

 murder. Daniels acknowledges that the conviction is relevant to his felon in possession charge.

 He will stipulate to being a “felon.” The government states that it will only use evidence of the

 type of conviction if Daniels testifies. See Fed. R. Evid. 609. Daniels states that the use of the

 conviction, which is more than ten years old, is more prejudicial than probative. The court will

 deny the motion without prejudice to see how this issue arises in the context of the trial.

                                               ORDER

        IT IS HEREBY ORDERED that the Motion to Sever to Enforce Right to Speedy Trial

 [dkt. # 158] is DENIED WITHOUT PREJUDICE.

        It is further ORDERED that the Motion to Dismiss the Second Superseding Indictment as

 a Vindictive Prosecution [dkt. # 165] is DENIED.

        It is further ORDERED that the Motion to Revoke Order of Detention because of

 Violation of Due Process [dkt. # 163] is DENIED WITHOUT PREJUDICE.


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        It is further ORDERED that the Second Renewed Motion for Discovery and Inspection

 [dkt. # 157] is DENIED AS MOOT.

        It is further ORDERED that the Second Motion for Notice of 404(b) Evidence [dkt. #

 161] is DENIED AS MOOT.

        It is further ORDERED that Renewed Motion for Disclosure of All Statements which the

 Government Will Seek to Attribute to Defendant [dkt.# 164] is DENIED AS MOOT.

        It is further ORDERED that Second Renewed Motion for Disclosure and Production of

 Government Informant(s) and for Disclosure of Brady Materials Relating to Informant [dkt. #

 156] is DENIED AS MOOT.

        It is further ORDERED that the Renewed Motion for Redaction of Statements [dkt. #

 162] is DENIED AS MOOT.

        It is further ORDERED that the Motion in Limine to Exclude All Evidence of Co-

 Defendant’s Threats and Solicitations of a “Hit-Man” [dkt. # 160] is DENIED WITHOUT

 PREJUDICE.

        It is further ORDERED that the Second Motion in Limine to Exclude Evidence of

 Defendant’s Prior Conviction [dkt. # 159] is DENIED WITHOUT PREJUDICE.



                                            s/John Corbett O’Meara
                                            United States District Judge


 Date: February 6, 2008




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 I hereby certify that a copy of the foregoing document was served upon the parties of record on
 this date, February 6, 2008, by electronic and/or ordinary mail.


                                             s/William Barkholz
                                             Case Manager




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